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6                         IN THE UNITED STATES DISTRICT COURT
7                                 FOR THE DISTRICT OF ARIZONA
8
     Fernando Gastelum,                             )
9                                                   )     No.: CV17-2957-PHX DGC
                     Plaintiff,                     )
10                                                  )           ORDER FOR
           vs.                                      )         DISMISSAL WITH
11
                                                    )            PREJUDICE
12   Bryce Jay, LLC d/b/a Vacation Inn,             )
                                                    )
13                   Defendant.                     )
                                                    )
14

15          Pending before the Court is the Parties’ Stipulation for Dismissal With Prejudice.
16   Doc. 14.
17          IT IS ORDERED that the stipulation for dismissal (Doc. 14) is granted. This

18   case is dismissed in its entirety with prejudice.

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            Dated this 30th day of October, 2017.

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